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UNIFED eyed
IN THE UNITED STATES DISTRICT COURT mepsrente D court
FOR THE DISTRICT OF COLORADO 8 COLMA
AUE 2 8 2003

(The above civil action number must appear on all future papers
sent to the court in this action. Failure to include this number
may result in a delay in the consideration of your claims.)

Civil Action No. 08 - CV -O ] 19 Q C25 GREGORY C. LANGHAM

DON LAW,
Movant,
v.
THE STATE OF COLORADO,

Respondent.

ORDER DIRECTING CLERK TO COMMENCE CIVIL ACTION AND
DIRECTING MOVANT TO CURE DEFICIENCY

Movant has submitted a document titled “Motion Asking the Court to Vacate
Conviction Pursuant to District Attorney Ms. Kerri Lombardi Presented Tainted
Testimony at the Defendants Trial Violateing [sic] the Defendants Due, Process Rights
the District Attorney also Violated Defendants Const. Under Amends. 5 14 Defendants
Rights also was Violated Under Amend Article [V].” He has failed either to pay the
$5.00 filing fee or to file a Prisoner's Motion and Affidavit for Leave to Proceed Pursuant
to 28 U.S.C. § 1915 in a Habeas Corpus Action. As part of the court’s review pursuant
to D.C.COLO.LCivR 8.2, the court has determined that the submitted document is
deficient as described in this order. Notwithstanding the deficiencies, the clerk of the
court will be directed to commence a civil action. Movant will be directed to cure the

following if he wishes to pursue his claims. Any papers which the Movant files in

CLERK

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response fo this order must include the civil action number on this order.

28 U.S.C. § 1915 Motion and Affidavit:
(1) Xx is not submitted

(2) _ is missing affidavit

(3) _ is missing certified copy of prisoner's trust fund statement for the 6-month
period immediately preceding this filing

(4) __ is missing required financial information

(5) _ is missing an original signature by the prisoner

(6) __ is not on proper form (must use the court’s current form).

(7) __ names in caption do not match names in caption of complaint, petition or
habeas application

(8) _ An original and a copy have not been received by the court.

Only an original has been received.
(9) x other: motion is necessary only if filing fee is not paid in advance.

Complaint, Petition or Application:

(10) xX is not submitted

(11) __ is not on proper form (must use the court’s current form)
(12) is missing an original signature by the prisoner

(13) _ ~~ is missing page nos. ___

(14) __ uses et al. instead of listing ail parties in caption

(15) __ ~~ Anoriginal and a copy have not been received by the court. Only an
original has been received.

(16) _ Sufficient copies to serve each defendant/respondent have not been
received by the court.

(17) __ names in caption do not match names in text

(18) _  ~— other

Accordingly, it is
ORDERED that the clerk of the court commence a civil action in this matter. It is
FURTHER ORDERED that the Movant cure the deficiencies designated above
within thirty (30) days from the date of this order. Any papers which the Movant
files in response to this order must include the civil action number on this order. It is
FURTHER ORDERED that the clerk of the court mail to the Movant, together
with a copy of this order, two copies of the following form(s): Prisoner's Motion and

Affidavit for Leave to Proceed Pursuant to 28 U.S.C. § 1915 in a Habeas Corpus
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Action; Application for a Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2254. Itis
FURTHER ORDERED thai, if the Movant fails to cure the designated
deficiencies within thirty (30) days from the date of this order, the action will be
dismissed without further notice. The . oO, be Dee

DATED at Denver, Colorado, this {2S day of , 2008.

BY THE COURT:

CRAIG B. SHAFFER
United States Magistrate Judge
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Cl Action No. 49) CV-0 1750

Don Law

Prisoner No. 83245

Bent County Correctional! Facility
11560 Road FF.75 - Unit 8R-108
Las Animas, CO 81054-9573

| hereby certify that | have mailed a copy of the ORDER and two copies of the
Prisoner's Motion and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. § 1915
in a Habeas Corpus Action and Application for a Writ of rrabea4 ay s Pursuant to
28 U.S.C. § 2254 forms to the above-named individuals on sft g/ a

GREGORY C. LANGHAM, CLERK

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{Perel Clerk

